          Case 22-33553 Document 957 Filed in TXSB on 12/05/24 Page 1 of 5




                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION



                                                         )
 In re:                                                  )   Chapter 7
                                                         )
 ALEXANDER E. JONES,                                     )   Case No. 22-33553 (CML)
                                                         )
                                 Debtor.                 )
                                                         )   Relates to Docket No. 859, 915

    X CORP.’S WITNESS AND EXHIBIT LIST FOR HEARING SCHEDULED FOR
        DECEMBER 9, 2024 AT 1:00 P.M. (PREVAILING CENTRAL TIME)

          X Corp. (“X Corp.”) files its Witness and Exhibit List for the hearing in connection with

the Trustee’s Expedited Motion for Entry of an Order in Furtherance of the Sale of Assets of Free

Speech Systems, LLC [Docket No. 915] to be held on December 9, 2024 at 1:00 p.m. (prevailing

Central Time) (the “Hearing”) as follows:

                                           WITNESSES

          X Corp. may call the following witnesses at the Hearing:

          1.     Samantha Birkenfeld-Malpass;

          2.     Any witness listed or called by any other party;

          3.     Rebuttal witnesses as necessary; and

          4.     X Corp. reserve the right to cross-examine any witness called by any other party.




                                                  1
              Case 22-33553 Document 957 Filed in TXSB on 12/05/24 Page 2 of 5




                                               EXHIBITS
    EXHIBIT




                                                                          OBJECT
                                                                                                 DISPOSITION




                                                                                   ADMIT
                                                                  OFFER
                                                           MARK




                                                                                           W/D
                           DESCRIPTION                                                              AFTER
                                                                                                  HEARING


A                X Corp.'s Limited Objection to
                 Trustee's Proposed Sale Motions
                 [ECF No. 25]
B                Notice of Corrected Exhibit A to X
                 Corp.’s Limited Objection to
                 Trustee’s Proposed Sale Motions
                 [ECF No. 953]
C                X Terms of Service effective as of
                 November 15, 2024
D                X Terms of Service effective as of
                 June 10, 2022
E                Service of Process Transmittal
                 Summary dated October 23, 2024
F                Trustee's Motion for Entry of an
                 Order Authorizing the Winddown of
                 Free Speech Systems, LLC [ECF No.
                 829]
G                Order Granting Trustee’s Motion for
                 Entry of an Order Authorizing the
                 Winddown of Free Speech Systems,
                 LLC [ECF No. 859]
H                Trustee's Emergency Motion for
                 Entry and Order Authorizing (I) The
                 Sale of Intellectual Property Assets in
                 Connection with the Windows of Free
                 Speech Systems, LLC and (II) the
                 Assumption and Assignment of
                 Executory Contracts [ECF No. 882]
I                Screenshot of @infowars X Post on
                 December 3, 2024




                                                     2
               Case 22-33553 Document 957 Filed in TXSB on 12/05/24 Page 3 of 5




     EXHIBIT




                                                                            OBJECT
                                                                                                   DISPOSITION




                                                                                     ADMIT
                                                                    OFFER
                                                             MARK




                                                                                             W/D
                              DESCRIPTION                                                             AFTER
                                                                                                    HEARING


 J                  Screenshot               of
                    @BANNEDdotVIDEO X repost on
                    November 25, 2024
 K                  Screenshot of @WarRoomShow X
                    post on December 4, 2024
                    Any document or pleading filed in the
                    above-captioned main case
                    Any     exhibit      necessary    for
                    impeachment        and/or     rebuttal
                    purposes
                    Any exhibit identified or offered by
                    any other party


                                        RESERVATION OF RIGHTS

               X Corp. reserve the right to call or to introduce one or more, or none, of the witnesses and

exhibits listed above, and further reserve the right to supplement this list prior to the Hearing.




                                                        3
      Case 22-33553 Document 957 Filed in TXSB on 12/05/24 Page 4 of 5




Dated: December 5, 2024    Respectfully submitted,

                           /s/ Caroline A. Reckler
                           Caroline A. Reckler (S.D. Tex. Bar No. IL6275746)
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                          - And –

                           Christopher Harris (S.D. Tex. Bar No. NY2914265)
                           Jonathan J. Weichselbaum (S.D. Tex. Bar No.
                           NY5676143)
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                           Counsel to X Corp.




                                      4
        Case 22-33553 Document 957 Filed in TXSB on 12/05/24 Page 5 of 5




                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was served by

electronic mail via the Court’s ECF system to all parties authorized to receive electronic notice in

this case on December 5, 2024.

                                                     /s/ Caroline A. Reckler
                                                        Caroline A. Reckler




                                                 5
